               IN THE UNITED STATES DISTRICT COURT FOR THE
                       MIDDLE DISTRICT OF TENNESSEE
                          NORTHEASTERN DIVISION

UNITED STATES OF AMERICA                        )
                                                )
                                                )
v.                                              )      Criminal No. 2:11-00002
                                                )      Judge Trauger
[26] TRESHA MAE SHERRILL                        )


                                         ORDER

      It is hereby ORDERED that the status conference scheduled for August 14, 2014 is

RESET for August 13, 2014 at 3:30 p.m.

      It is so ORDERED.

      ENTER this 6th day of August 2014.




                                                ________________________________
                                                      ALETA A. TRAUGER
                                                        U.S. District Judge




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